        Case 1:19-cr-00286-ELH           Document 427         Filed 04/14/20      Page 1 of 5



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                        :

        v.                                       :          Criminal No. ELH-19-0286

CHEYENNE ELLISON                                  :


                                    MEMORANDUM AND ORDER
       Cheyenne Ellison was indicted on June 11, 2019 and charged with conspiracy to distribute

controlled substances in violation of 21 U.S.C. 846. ECF 23. A superseding indictment was

returned on June 25, 2019. ECF 96. The Defendant consented to detention on July 26, 2019. ECF

264. At the request of Defendant, a detention hearing was held on January 13, 2020 and an order of

detention was entered by me on that date. ECF 357-58. On that date I found by clear and

convincing evidence that there were no conditions or combination of conditions that would assure

the presence of defendant at trial or the safety of the community. ECF 358. At the hearing the

Court made findings of fact on the record and supplemented those with findings of additional

reasons for detention in writing.

       Defendant has now filed a Motion for Reconsideration relying upon the COVID-19

pandemic as changed circumstances for the Court to review. ECF 424. The government has

responded, opposing release. ECF 426. The parties have fully briefed the issues and there is no

need for a hearing. Local Rule 105.6. For the reasons set forth below, the motion is DENIED.

       The Defendant does not set forth a viable challenge to the order of detention based upon the

previous factors set forth in 3142(g) nor the Court’s analysis of the danger the Defendant poses to

the public. Instead the Defendant argues that he joined the conspiracy later in time (if at all).

Defendant argues that his personal safety is at a higher risk and that higher risk minimizes the

threat to public safety previously found by this Court, especially considering positive tested
         Case 1:19-cr-00286-ELH           Document 427       Filed 04/14/20      Page 2 of 5



persons at CTF. Defendant is not housed at CTF or any District Department of Corrections facility

(DDOC). Defendant is housed at CDF where, at present there are no reported positive cases of

COVID-19. The Defendant alleges no specific facts or medical information but has filed this

boilerplate motion for release based upon the greater risk of exposure and contraction of COVID-

19 for persons in detention facilities.

       Defendant offers the alternative of home confinement with electronic monitoring as an

alternative to his detention at CDF. Notably the Defendant offers no information regarding the

conditions where he proposes to reside, for example, what size is the residence, how many people

reside there, do any of the other residents have compromising medical conditions, or how can

isolation or social distancing be accomplished. As stated below traditional electronic monitoring is

not an option.

       This Court will treat the motion as a motion for reconsideration due to the changed

circumstances of the COVID-19 outbreak. 18 U.S.C. 3142(f). My decision is an individualized

assessment as to this Defendant Cheyenne Ellison and pursuant to the motion and response, the

record in this case and the arguments contained therein.

       There is no new evidence presented to this Court that rebuts the presumption for detention

of this Defendant nor ensures the safety of the community. I fully incorporate my findings on the

record at the detention hearing of January 13, 2020 and my written order of that date. ECF 357-58.

In this drug trafficking conspiracy and related charges, the government enjoys a presumption for

detention. I found specifically as to Cheyenne Ellison on January 13, 2020, that he failed to

produce credible evidence to overcome that presumption for detention. 18 U.S.C. 3142(e). The

Defendant presents no change of circumstances regarding the 3142(g) factors to overcome the

presumption at this time either. For the reasons stated previously by this Court and as set forth

below, the Motion to Reconsider Detention is DENIED.

                                                  2
        Case 1:19-cr-00286-ELH            Document 427       Filed 04/14/20      Page 3 of 5



       The Factors under 18 U.S.C. 3142(g)

       The Defendant was intercepted in a Title III wiretap investigation targeting a violent drug

trafficking organization operating in East Baltimore. He is described by the government as a

“middle-man” brokering drug transactions among his co-conspirators. Search and seizure warrants

authorized by the Court yielded large amounts of controlled substances, cash and firearms. In at

least one of the seizures, the government has alleged the drugs seized were the direct result of this

Defendant’s activities in brokering drug deals. Drug trafficking and the presence of firearms,

despite there being no evidence Defendant himself possessed the firearms seized, are serious

offenses endangering the lives of everyone in the community. The seriousness of the offense

weighs in favor of continued detention.

       The weight of the evidence is strong in this case as to Cheyenne Ellison. He was

intercepted in conversations with his co-defendants and drugs seized were directly linked to this

Defendant through intercepted conversations. Defendant is facing a minimum mandatory sentence

of 10 years to life imprisonment due to the nature and volume of drug trafficking involved in this

drug trafficking conspiracy. As stated previously, although not charged specifically with a firearm

offense, the indictment sets forth multiple firearms charges attributed to co-defendants in this

conspiracy. The weight of the evidence favors continued detention.

       The third factor under 3142(g) concerns the history and characteristics of the person. In

light of Defendant’s extensive criminal history consisting of at least four prior drug felony

convictions with some of the charges resulting in violations of probation or release, all of the

3142(g) factors require detention. Defendant also has a second degree assault conviction that

cannot be ignored. I have stated in writing and on the record, in this Court’s experience there is no

greater danger to the community than armed drug traffickers. Baltimore had 348 homicides last

year and the surrounding counties suffered increases in homicides, many of which were drug

                                                  3
        Case 1:19-cr-00286-ELH           Document 427        Filed 04/14/20      Page 4 of 5



related. During this pandemic outbreak, there have been triple and quadruple shootings in

Baltimore as well as individual homicides. While some street crime has seen reduced numbers

(probably due to fewer people on the street), the pandemic event has not abated gun crime.

Defendant does not challenge the clear and convincing evidence that he poses a threat to public

safety. The history and characteristics of Defendant demands continued detention.

       COVID-19

       In evaluating the COVID-19 change of circumstances, I incorporate other decisions of this

Court, (United States v. Martin, 2020 WL 127857 (D.Md. March 17, 2020)) and its progeny of

Orders, including United States v. Malik Gibson-Bey, RDB 19-563 and others set forth in the

government’s response, including decisions I have authored as well. I fully adopt the reasonings

and rulings of those Opinions and incorporate them into this Memorandum and Order as to

Cheyenne Ellison.

       In weighing the evidence presented by the government as to the response of CDF to the

COVID-19 outbreak and incorporating the prior Memorandum Orders of this Court, I find that the

protocols are reasonable under the circumstances. I find that releasing Defendant to home detention

with Pretrial Supervision by clear and convincing evidence does not ensure the safety of the public

and the presence of the Defendant. The new circumstances of COVID -19 are but one factor to

consider. I have fully considered the impact of COVID-19 at CDF. The generalized risk factors

Defendant presents do not outweigh the factors I have previously found requiring his continued

detention. Defendant alleges he is at a higher risk of infection due to his presence at a detention

facility. Even where positive cases have been found, the procedures and protocols set forth by CTF

as stated in the previous opinions and the government’s response, are reasonable under the

circumstances. While the 8th Amendment argument counsel makes does not apply since Defendant



                                                   4
        Case 1:19-cr-00286-ELH           Document 427         Filed 04/14/20      Page 5 of 5



is not serving a sentence, there is no evidence to support a constitutional violation of due process in

the continued detention of Cheyenne Ellison.

       As to home detention, I have been advised by Probation and Pretrial Services that

traditional location monitoring is no longer available due to the risks to pretrial services personnel.

Even if those conditions existed, this Defendant, a person convicted of four prior drug felonies,

second degree assault and violating supervision in the community with such an extensive criminal

history is not a candidate for home detention. While this opinion has concentrated on the safety of

the community, Defendant has failed to submit to supervision in the community and now is facing

a minimum mandatory ten years to life imprisonment. There is little incentive for Defendant to

suddenly submit to supervision now and appear at trial. Defendant again has failed to present

evidence to rebut the presumption for detention. I find again by clear and convincing evidence that

there are no conditions or combination of conditions that will ensure the Defendant’s presence at

trial and the safety of the community.

       Accordingly, the motion (ECF 424) is DENIED. So Ordered this 14th day of April, 2020.


                                                                   /s/______________
                                                       A. David Copperthite
                                                       United States Magistrate Judge




                                                   5
